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                                11    Attorneys for Plaintiff and Proposed Class
                                      Counsel
                                12
                                                         UNITED STATES DISTRICT COURT
                                13
                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                14
                                      JESSICA MANNER, an individual,          Case No.: 3:15-cv-00045-BAS-WVG
                                15    on behalf of herself and all others
                                      similarly situated,                     CLASS ACTION
                                16
                                                  Plaintiff,                  NOTICE OF MOTION AND JOINT
                                17                                            MOTION FOR PRELIMINARY
                                            v.                                APPROVAL OF CLASS ACTION
                                18                                            SETTLEMENT
                                      GUCCI AMERICA, INC., a New
                                19    York Corporation; and DOES 1            Hearing Date:
                                      through 50, inclusive,
                                20                                            NO ORAL ARGUMENT UNLESS
                                                  Defendant.                  REQUESTED BY THE COURT
                                21
                                                                              Judge:     Hon. Cynthia Bashant
                                22                                            Courtroom: 4B, 4th Floor – Schwartz
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                                                                               Case No. 3:15-cv-00045-BAS-WVG
00087951                                  NOTICE OF MOTION AND JOINT MOTION FOR PRELIMINARY APPROVAL
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                                 1          PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 23(e), Plaintiff
                                 2    Jessica Manner and Defendant Gucci America, Inc., will and hereby do move
                                 3    this Court for an order granting preliminary approval of the Settlement reached
                                 4    by the Parties, and to enter the [Proposed] Order Preliminarily Approving Class
                                 5    Action Settlement, which is attached as Exhibit A to the concurrently submitted
                                 6    Settlement Agreement, and (1) grant preliminary approval of the Settlement
                                 7    reached by the Parties, (2) provisionally certify the Class, (3) preliminarily
                                 8    designate Plaintiff Jessica Manner as the Class Representative, (4) appoint
                                 9    Thomas J. O’Reardon II of Blood Hurst & O’Reardon, LLP and Todd D.
                                10    Carpenter of Carpenter Law Group as Class Counsel for the Class, (5) approve
 BLOOD HURST & O’REARDON, LLP




                                11    the Parties’ proposed form, method, and schedule for disseminating Class Notice
                                12    to the Class, (6) establish deadlines for the Class Members to object to, or
                                13    request exclusion from the Settlement, and (7) set a date for the Final Approval
                                14    Hearing.
                                15          This joint motion is based upon this notice, the memorandum of points and
                                16    authorities submitted herewith, the Declaration of Thomas J. O’Reardon II, the
                                17    Declaration of Todd D. Carpenter, upon all papers and pleadings on file herein,
                                18    and further evidence and argument as the Court may choose to entertain.
                                19                                          Respectfully submitted,
                                20    Dated: July 31, 2015                  BLOOD HURST & O’REARDON, LLP
                                                                            TIMOTHY G. BLOOD (149343)
                                21                                          THOMAS J. O’REARDON II (247952)
                                                                            PAULA M. ROACH (254142)
                                22
                                23                                          By:    s/ Thomas J. O’Reardon II
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                                                                             Attorneys for Plaintiff and Proposed
                                 5                                           Class Counsel
                                 6
                                      Dated: July 31, 2015                   SEDGWICK LLP
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                                                                             MEEGAN B. BROOKS (298570)
                                 8
                                 9                                           By:    s/ Stephanie Sheridan
                                                                                     STEPHANIE SHERIDAN
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                                14                                           Attorneys for Defendant
                                15
                                                                  ECF CERTIFICATION
                                16
                                            The filing attorney attests that he has obtained concurrence regarding the
                                17
                                      filing of this document from the signatories to this document.
                                18
                                19
                                      Dated: July 31, 2015                   BLOOD HURST & O’REARDON, LLP
                                20
                                21                                           By:    s/ Thomas J. O’Reardon II
                                                                                   THOMAS J. O’REARDON II
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                                 1                            CERTIFICATE OF SERVICE
                                 2          I hereby certify that on July 31, 2015, I electronically filed the foregoing
                                 3    with the Clerk of the Court using the CM/ECF system which will send
                                 4    notification of such filing to the e-mail addresses denoted on the Electronic Mail
                                 5    Notice List, and I hereby certify that I have mailed the foregoing document or
                                 6    paper via the United States Postal Service to the non-CM/ECF participants
                                 7    indicated on the Electronic Mail Notice List.
                                 8          I certify under penalty of perjury under the laws of the United States of
                                 9    America that the foregoing is true and correct. Executed on July 31, 2015.
                                10
                                                                                       s/ Thomas J. O’Reardon II
 BLOOD HURST & O’REARDON, LLP




                                11                                                    THOMAS J. O’REARDON II
                                12
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